                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:15-cv-208-FDW
                                (3:12-cr-188-FDW-19)

WILLIAM LEWIS DONTARS MEEKS,              )
                                          )
                  Petitioner,             )
                                          )
vs.                                       )                           ORDER
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                  Respondent.             )
__________________________________________)

       THIS MATTER is before the Court on its own motion following the Court’s finding that

an evidentiary hearing should be held as to various claims in Petitioner’s motion to vacate. Rule

8(c) of the Rules Governing Section 2255 Proceedings provides that appointment of counsel is

required for an evidentiary hearing if the petitioner qualifies under 18 U.S.C. § 3006A. The Court

finds that Petitioner should be appointed counsel, as it does not appear likely that he can afford an

attorney at this time as he has been incarcerated since his arrest.

       IT IS, THEREFORE, ORDERED that:

       1. The Clerk shall appoint counsel for Petitioner in accordance with the CJA plan and in

           conjunction with the Federal Defender.

       2. The Clerk is directed to certify copies of this Order to Petitioner, the Federal Defender,

           and the U.S. Attorney.

       IT IS SO ORDERED.




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